DOCUMENTS UNDER SEAL
                       Case 3:19-cr-00360-CRB Clear
                                                Document
                                                    Form 8 Filed 08/12/19 Page 1 4of 1
                                                              TOTAL TIME (m ins):
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                              Stephen Ybarra                           10:56 - 11:00
MAGISTRATE JUDGE                           DATE                                     NEW CASE          CASE NUMBER
Elizabeth D. Laporte                       August 12, 2019                                           19-cr-00360-CRB
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.       RET.
Carlos Vargas                                      Y          P       Dan Blank                            APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT             COUNSEL APPT'D
Ryan Arash Rezaei                          Melinda Basker - Spanish                SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Katrina Chu                              APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT               BOND HEARING            IA REV PROB. or           OTHER
                                                                                    or S/R
       DETENTION HRG              ID / REMOV HRG            CHANGE PLEA             PROB. REVOC.              ATTY APPT
                                                                                                              HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON               READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED            ISSUED                    AMT OF SECURITY          SPECIAL NOTES               PASSPORT
      ON O/R              APPEARANCE BOND           $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED           RELEASED        DETENTION HEARING             REMANDED
      FOR              SERVICES                                                   AND FORMAL FINDINGS           TO CUSTODY
      DETENTION        REPORT                                                     W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
   CONSENT                      NOT GUILTY                   GUILTY                  GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                  CHANGE OF PLEA               PLEA AGREEMENT          OTHER:
   REPORT ORDERED                                            FILED
                                                       CONTINUANCE
TO:                               ATTY APPT               BOND                     STATUS RE:
8/15/19                           HEARING                 HEARING                  CONSENT                  TRIAL SET

AT:                               SUBMIT FINAN.              PRELIMINARY           CHANGE OF               ______
                                                                                                           STATUS
                                  AFFIDAVIT                  HEARING               PLEA                Set Further Proceedings
10:30 am                                                     _____________
BEFORE HON.                       DETENTION                  ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                  HEARING                                                                   SENTENCING
EDL
       TIME W AIVED               TIME EXCLUDABLE            IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                  UNDER 18 § USC             REMOVAL               CONFERENCE               HEARING
                                  3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS




                                                                                        DOCUMENT NUMBER:
